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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


   UNITED STATES OF AMERICA

   v.                                             Case No. 8:16-cr-353-T-30JSS

   EDWIN PATRICK YOUNG


                      FORFEITURE MONEY JUDGMENT

         The United States moves pursuant to 18 U.S.C. § 982(a)(7) and Rule

   32.2(b)(2), Federal Rules of Criminal Procedure, for a forfeiture money

   judgment (Doc. 166) in the amount of $6,959,471.00 against the defendant,

   representing the amount of proceeds he obtained as a result of the conspiracy to

   commit health care fraud as charged in Count One of the Indictment.

         Being fully advised of the relevant facts, the Court finds that as a result

   of the conspiracy to commit health care fraud, in violation of 18 U.S.C. § 1349,

   as charged in Count One of the Indictment, defendant Edwin Patrick Young

   obtained proceeds in the amount of $6,959,471.00.

         The Court further finds that under 21 U.S.C. § 853(p), as incorporated by

   18 U.S.C. § 982(b)(1), the United States is entitled to forfeit any property

   belonging to the defendant as a substitute asset to satisfy his money judgment.
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         Accordingly, it is ORDERED that the motion (Doc. 166) of the United

   States is GRANTED.

         It is further ORDERED that, pursuant to 18 U.S.C. § 982(a)(7) and

   Federal Rule of Criminal Procedure 32.2(b)(2), defendant Edwin Patrick Young

   is jointly and severally liable with his co-conspirators, upon their conviction, to

   the United States of America for a forfeiture money judgment in the amount of

   $6,959,471.00, representing the amount of proceeds obtained as a result of the

   conspiracy to commit health care fraud, in violation of 18 U.S.C. § 1349, as

   charged in Count One of the Indictment, for which he was convicted.

         The Court retains jurisdiction to effect the forfeiture and disposition of

   any substitute assets the government is entitled to seek, under 21 U.S.C.

   § 853(p), as incorporated by 18 U.S.C. § 982(b)(1), to satisfy the defendant’s

   money judgment.

         DONE and ORDERED in Tampa, Florida, on December 19th, 2016.




   Copies furnished to:
   All Parties/Counsel of Record




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